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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-02878-DDD-MEH

   ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,

   v.

    ZOOM VIDEO COMMUNICATIONS, INC.,

               Defendant.


                  DECLARATION OF RAGHU RAO IN SUPPORT OF
                   DEFENDANT’S MOTION TO TRANSFER VENUE
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            I, Raghu Rao, hereby declare:

            1.     I have personal knowledge of the facts contained within this declaration, and if

   called as a witness, could testify competently under oath to the matters contained herein.

            2.     I am employed by Zoom Video Communications, Inc. (“Zoom”) and my title is

   Associate General Counsel. My responsibilities include assisting our Deputy General Counsel of

   IP and Litigation on various matters.

            3.     I have reviewed records kept in the ordinary course of business in preparation for

   making this declaration.

            4.     I understand that the Northern District of California covers the following

   counties: Alameda, Contra Costa, Del Norte, Humboldt, Lake, Marin, Mendocino, Monterey,

   Napa, San Benito, San Francisco, San Mateo, Santa Clara, Santa Cruz, and Sonoma.

            5.     Zoom is incorporated in Delaware.

            6.     Zoom’s headquarters are located at 55 Almaden Blvd, San Jose, California,

   95113, which is within Santa Clara County.

            7.     Zoom’s principal executive offices are in San Jose, which is also where its CEO is

   based.

            8.     Zoom was founded in 2011 in San Jose, California and all initial research and

   development was performed by Zoom employees based in our San Jose and China offices.

            9.     Zoom sells its products globally, with the exception of a few countries in which

   sales are blocked for regulatory or legal reasons.

            10.    The San Jose office houses the majority of U.S. Zoom personnel who work on

   product development and support, including nearly all its product and marketplace teams and its




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   key engineers.

          11.       Zoom has four other offices in the United States and five other offices abroad. It

   has a total of approximately 30 worldwide leases.

          12.       The San Jose office is Zoom’s largest office and has 87,000 square feet of leased

   commercial space and approximately 660 employees.

          13.       Zoom’s Denver office focuses on enterprise sales and has approximately 517

   employees.

          14.       Zoom’s core technical operations are based in its San Jose office.

          15.       I am advised that Rothschild Broadcast Distribution Systems, LLC (“Rothschild”)

   alleges that Zoom infringes U.S. Patent No. 8,856,221 (the “’221 Patent”) through the use of its

   Cloud Recording product.

          16.       Cloud Recording was developed and is maintained by Zoom’s research and

   development and engineering team working out of San Jose and China.

          17.       I do not understand Cloud Recording to have been researched, designed, or

   developed in Colorado.

          18.       Nearly all of Zoom’s employees with knowledge of and access to the technical

   documents and source code related to Cloud Recording are based out of its San Jose

   headquarters or in China.

          19.       Many of the financial, marketing, and legal documents related to Cloud

   Recording are accessible only through its employees in San Jose.

          20.       Most of the documents most closely related to Cloud Recording are located in

   Zoom’s engineering and sales databases—all of which are maintained from its headquarters.




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          21.     All sales, commercial legal, and IT support staff in Zoom’s Denver office report

   to members of management in San Jose. I am not aware of any relevant documents stored in

   Colorado.

          22.     Zoom’s management teams for financial, legal, research and development, and

   sales and marketing operations are based out of San Jose.

          23.     Brendan Ittelson is Zoom’s Chief Technology Officer charged with managing

   Zoom’s technology strategy and innovation. He is based in San Jose.

          24.     Janine Pelosi is Zoom’s Chief Marketing Officer charged with the company’s

   branding, communications, and product marketing. She is based in San Jose.

          25.     Kelly Steckelberg is Zoom’s Chief Financial Officer in charge of branding,

   communications, and product marketing. She is based in San Jose.

          I hereby declare under penalty of perjury under the laws of the United Sates that the

   foregoing is true and correct to the best of my knowledge.



    Dated: November 13, 2020

                                           By:
                                                                   RAGHU RAO




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of November, 2020, I electronically filed a true and

       correct copy of the foregoing DECLARATION OF RAGHU RAO IN SUPPORT OF

          DEFENDANT’S MOTION TO TRANSFER VENUE with the Clerk of the Court
   using the CM/ECF system which will send notification of such filing to the following email
   addresses:
          jay@kjpllc.com
          ajones@durietangri.com

                                                               /s/ Timothy C. Saulsbury




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